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           10
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           12
                                                 UNITED STATES DISTRICT COURT
           13                                  NORTHERN DISTRICT OF CALIFORNIA
                                                    SAN FRANCISCO DIVISION
           14

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           16      IN RE: FACEBOOK, INC. CONSUMER                    CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION,
           17                                                        [PROPOSED] ORDER GRANTING
                                                                     PLAINTIFFS’ ADMINISTRATIVE
           18      This document relates to:                         MOTION TO CONSIDER WHETHER
                                                                     ANOTHER PARTY’S MATERIALS
           19      ALL ACTIONS                                       SHOULD BE SEALED

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                                                         [PROPOSED] ORDER
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               1                                        [PROPOSED] ORDER

               2          The Court has considered Facebook, Inc.’s (“Facebook”) Statement in Support of Plaintiffs’

               3   Administrative Motions to Consider Whether Another Party’s Materials Should Be Sealed (Dkts. 1001,

               4   1005), which proposes to keep the following documents under seal:

               5          Facebook also proposes to redact limited portions of the following documents:

               6    Document          Dkt. No.     Description of Portions Sought to Be Kept Under Seal
                    Plaintiffs’ Ex.   1006-8       • The names of two confidential business partners.
               7    5 (Hendrix)                    • Limited portions that reveal confidential information regard-
               8                                      ing Facebook’s privacy and platform policy enforcement
                                                      practices.
               9    Plaintiffs’ Ex. 1006-1         • Limited portions that reveal confidential information regard-
                    31                                ing Facebook’s tool for responding to law-enforcement re-
           10       (Papamiltiadis)                   quests for user records.
                                                   • Limited portions that reveal confidential information regard-
           11
                                                      ing Facebook’s privacy and platform policy enforcement
           12                                         practices.
                                                   • Limited portions that reveal confidential information regard-
           13                                         ing Facebook’s proprietary data systems and data storage
                                                      and processing practices.
           14
                                                   • Limited portions that reveal confidential and competitively
           15                                         sensitive information regarding Facebook’s business pro-
                                                      grams, strategies, decisions, and partners.
           16       Plaintiffs’ Ex.   1006-2       • Limited portions that reveal confidential information regard-
                    95 (Duffey)                       ing Facebook’s tool for responding to law-enforcement re-
           17                                         quests for user records.
           18                                      • Limited portions that reveal confidential information regard-
                                                      ing Facebook’s proprietary data systems and data storage
           19                                         and processing practices.
                                                   • Limited portions that reveal confidential information regard-
           20                                         ing Facebook’s privacy and platform policy enforcement
                                                      practices.
           21                         1006-3
                    Plaintiffs’ Ex.                • Limited portions that reveal confidential and competitively
           22       98 (Leone)                        sensitive information regarding Facebook’s business pro-
                                                      grams, strategies, decisions, and partners.
           23                                      • Limited portions that reveal confidential information regard-
                                                      ing Facebook’s employees.
           24
                                                   • Limited portions that reveal confidential information regard-
           25                                         ing Facebook’s proprietary data systems and data storage
                                                      and processing practices.
           26       Plaintiffs’ Ex.   1006-4       • Limited portions that reveal confidential information regard-
                    103 (Clark)                       ing Facebook’s proprietary data systems and data storage
           27                                         and processing practices.
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               1    Plaintiffs’ Ex.   1006-5      •   Limited portions that reveal confidential and   competitively
                    105 (Cross)                       sensitive information regarding Facebook’s      business pro-
               2
                                                      grams, strategies, decisions, and partners.
               3    Plaintiffs’ Ex.   1006-6      •   Limited portions that reveal confidential and   competitively
                    106 (Chang)                       sensitive information regarding Facebook’s      business pro-
               4                                      grams, strategies, decisions, and partners.
                    Plaintiffs’ Ex.   1006-7      •   Limited portions that reveal confidential and   competitively
               5    116 (Lee)                         sensitive information regarding Facebook’s      business pro-
               6                                      grams, strategies, decisions, and partners.

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               8            Good cause having been shown, Plaintiffs’ Administrative Motion To Consider Whether

               9   Another Party’s Materials Should Be Sealed is GRANTED. The Court hereby ORDERS:

           10          1. The redacted versions of the following documents shall be filed on the public docket:
                             A. Plaintiffs’ Exhibits 5, 31, 95, 98, 103, 105, 106, and 116, attached with the same
           11                    numbering and “-B” to the Supplemental Stein Declaration.
           12
                       2. The unredacted versions of the following documents shall be sealed permanently:
           13                A. Plaintiffs’ Exhibits 5, 31, 95, 98, 103, 105, 106, and 116, attached with the same
                                 numbering and “-A” to the Supplemental Stein Declaration
           14

           15      IT IS SO ORDERED.

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           17      DATE: ____________________                          ___________________________________
                                                                       VINCE CHHABRIA
           18                                                          United States District Judge
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                   105699565.1
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